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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


  In re FIRSTENERGY CORP. SECURITIES             )   No. 2:20-cv-03785-ALM-KAJ
  LITIGATION                                     )
                                                 )   CLASS ACTION

  This Document Relates To:                      )
                                                 )   Judge Algenon L. Marbley
  ALL ACTIONS                                    )   Magistrate Judge Kimberly A. Jolson
                                                 )
                                                 )

  MFS Series Trust I, et al.,                    )   No. 2:21-cv-05839-ALM-KAJ
                                                 )
                         Plaintiffs,             )
                                                 )
           vs.                                   )
                                                 )
  FirstEnergy Corp., et al.,                     )
                                                 )
                         Defendants.
                                                 )

  Brighthouse Funds Trust II – MFS Value         )   No. 2:22-cv-00865-ALM-KAJ
  Portfolio, et al.,                             )
                                                 )
                         Plaintiffs,             )
                                                 )
           vs.                                   )
                                                 )
  FirstEnergy Corp., et al.,                     )
                                                 )
                         Defendants.
                                                 )


                                       [PROPOSED] ORDER




 4862-4090-7227.v5
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          Before the Court is the parties’ Joint Stipulation Regarding FirstEnergy’s Motion to Stay

 the District Court’s May 6, 2024 Opinion & Order (ECF 653) Pending the Sixth Circuit’s

 Resolution of Its Petition for a Writ of Mandamus (“Stipulation”).          Having reviewed the

 Stipulation and FirstEnergy’s request therein to stay this Court’s May 6, 2024 Order & Opinion

 pending resolution of the Petition for Writ of Mandamus filed by FirstEnergy Corp. in In re

 FirstEnergy Corp., No. 24-3654 (6th Cir. July 29, 2024), ECF 1 (the “Mandamus Petition”) and having

 reviewed and considered the Mandamus Petition and the briefs filed by amici curiae on August 2,

 2024 and August 5, 2024 (which amicus briefs, Plaintiffs contend, were not authorized under the

 Federal Rules of Appellate Procedure or invited by the Sixth Circuit), the Court ORDERS as

 follows:

          FirstEnergy’s request to stay the Court’s May 6, 2024 Order & Opinion pending the Sixth

 Circuit’s resolution of the Mandamus Petition is [GRANTED] [DENIED].



          IT IS SO ORDERED.



 DATED: _________________________              _______________________________________
                                               THE HONORABLE ALGENON L. MARBLEY
                                               UNITED STATES DISTRICT CHIEF JUDGE


 DATED: _________________________              ____________________________________
                                               THE HONORABLE KIMBERLY A. JOLSON
                                               UNITED STATES MAGISTRATE JUDGE




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